Case 1:22-cv-00545-CMH-JFA Document 108 Filed 01/11/23 Page 1 of 12 PageID# 1139




                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF VIRGINIA
                                    ALEXANDRIA DIVISION


   JANE DOE                                        )
        A Domiciliary of the                       )
        Commonwealth of Virginia                   )
                                                   )
             Plaintiff,                            )       Civil Action No. 1:22-cv-00545
                                                   )
   v.                                              )
                                                   )       JURY TRIAL DEMANDED
   CENK SIDAR                                      )
                                                   )
             Defendant.                            )

                     PLAINTIFF’S OPPOSITION TO
   DEFENDANT’S RENEWED MOTION TO REMOVE PSEUDONYM DESIGNATION

             Plaintiff Jane Doe (“Plaintiff”), by and through her attorneys, files this Opposition to

  Defendant’s Renewed Motion to Remove Pseudonym Designation (“Motion”). ECF No. 65.

  Specifically, Defendant Cenk Sidar (“Sidar”) once again demands that this Court remove the

  designation “Jane Doe” that has prevented Plaintiff from being traumatized a second time by

  Defendant’s rape of her.

        I.      Background

             Defendant’s Motion is just one more example of the manner that he and his counsel have

  litigated this lawsuit – attempting to make this lawsuit as expensive as possible for Plaintiff

  knowing that she has significantly fewer financial resources than does Mr. Sidar. Sidar hopes to

  make this litigation as painful as possible in order to coerce a settlement that does not fairly

  compensate Plaintiff for her injuries. Since current counsel joined this case, counsel has filed

  frivolous motions, meritless objections, and a baseless appeal to the Fourth Circuit. Moreover,

  Sidar has refused to comply with his obligations to participate in good faith in discovery, not
Case 1:22-cv-00545-CMH-JFA Document 108 Filed 01/11/23 Page 2 of 12 PageID# 1140




  only refusing to provide a DNA sample as required by an Order of this Court, but also failing to

  provide most of the written discovery requested by Plaintiff. Plaintiff has not had the financial

  resources to fight Sidar on all of these fronts and still pursue her case against him in order to see

  that justice is done regarding his rape of her.

         This case was originally filed in Fairfax County Circuit Court on September 13, 2019

  with a motion to have Plaintiff’s name be replaced with a pseudonym filed concurrently with the

  Complaint. For over two years, Sidar’s previous counsel never complained about the use of a

  pseudonym. Current counsel entered the case in October 2021 and defended Sidar for over 6

  weeks before Plaintiff entered a non-suit in late November 2021, with Plaintiff’s counsel

  announcing that they would refile the case in federal court so that they could obtain the DNA

  evidence they needed for their case. During that six week period, counsel never complained

  about the pseudonym designation. For the six months from the non-suit until the case was refiled

  in this Court, Sidar’s current counsel never made any request nor raised any objection to the idea

  that the case would be filed with Plaintiff using a pseudonym. It was only after Sidar’s counsel

  realized that the removal of the pseudonym could be used as leverage to attempt to obtain a

  better settlement for Sidar did counsel object to the use of the pseudonym.

         The fact that Sidar has taken extreme efforts to prevent Plaintiff from obtaining a DNA

  sample from him so that she can compare it to the sperm DNA that was taken from her vaginal

  area the morning of the rape is strong evidence that Sidar knows that the DNA will be a match.

  Much like the assertion of the Fifth Amendment right to silence in a civil case, his refusal to

  comply with the Order entered by Magistrate Judge Buchanan on August 5, 2022 is a damning

  indictment that Sidar clearly raped Plaintiff on September 17, 2019. Sidar’s refusal to provide



                                                    2
Case 1:22-cv-00545-CMH-JFA Document 108 Filed 01/11/23 Page 3 of 12 PageID# 1141




  the DNA sample should be treated as seriously as a spoliation of evidence. Plaintiff notes that

  Defendant has also refused to provide his cell phone, text and social media records, both before

  this Court and in Fairfax County, and has never responded over two years to several spoilation

  demand letters from Plaintiff.

         This Court denied Sidar’s previous attempt to remove the pseudonym designation and

  expose Plaintiff’s name in this case. ECF 36. The arguments supporting continued use of the

  pseudonym and the balance of the equities for such a designation have only become more

  compelling in favor of Plaintiff since that Order.

     II. Argument

         Sidar’s Renewed Motion merely regurgitates almost verbatim the arguments that he made

  when his motion was denied in July 2022. Sidar provides no explanation why it is necessary to

  remove the pseudonym at this time. As explained below, each of the factors that supported

  continuing the use of the pseudonym back in July are only stronger now.

         A.      Standard and Balance of Interests

                 1.      General Standard; Five Part Test

         While the Federal Rules of Civil Procedure requires identification of parties, in certain

  circumstances a party may be afforded the protection of anonymity if that party meets the five-part

  test set forth in James v. Jacobson, 6 F.3d 233, 238 (4th Cir. 1993). After a review of various

  criteria discussed in other circuits, the James court chose the following five criteria that “have

  relevance to this case….” Id. These factors include

                 [1] whether the justification asserted by the requesting party is
                 merely to avoid the annoyance and criticism that may attend any
                 litigation or is to preserve privacy in a matter of sensitive and highly
                 personal nature; [2] whether identification poses a risk of retaliatory

                                                    3
Case 1:22-cv-00545-CMH-JFA Document 108 Filed 01/11/23 Page 4 of 12 PageID# 1142




                 physical or mental harm to the requesting party or even more
                 critically, to innocent non-parties; [3] the ages of the persons whose
                 privacy interests are sought to be protected; [4] whether the action
                 is against a governmental or private party; and [5] the risk of
                 unfairness to the opposing party from allowing an action against it
                 to proceed anonymously.

         Numerous courts have applied the James test to either grant or deny requests for

  anonymity. The cases cited by Defendant are inapposite. They do not address the anonymity of

  rape victims. The cases cited by Defendant, for example, relate to Title VII claims (Doe v.

  Hallock, 119 F.R.D. 640 (S.D. Miss. 1987); Southern Methodist Univ Ass'n v. Wynne & Jaffe,

  599 F.2d 707 (5th Cir. 1979)); Section 1983 claims (Doe v. Alger, 317 F.R.D. 37 (W.D. Va.

  2016)); a TSA pat-down (JL v. Polson, 2017 WL 11500247 (E.D. Va. Jan. 1, 2017)); risk of

  harm to a company related to an infant death from a defective product (Co. Doe v. Public

  Citizen, 749 F.3d 246 (4th Cir. 2014)(criticized in Roe v. Doe, Civil Action No. 18-666 (CKK)

  (D.D.C. Aug. 9, 2018)); public interests in government litigation or challenging laws or

  regulations (Doe v. Merten, 219 F.R.D. 387 (E.D. Va. 2004) (cited in contradiction by Opinion

  No. GA-0699 (Ops. Tex. Atty. Gen. Mar. 19, 2009), at fn. 2); and cheating on exams (Candidate

  # 452207 v. CFA Institute, 42 F. Supp. 3d 804 (E.D. Va. 2012)).

         The closest case to the instant one cited by Defendant is Doe v. Rector & Visitors of

  George Mason Univ., 179 F. Supp. 3d 583 (E.D. Va. 2016) in which the court granted Plaintiff’s

  request for pseudonymity specifically citing that sexual misconduct carries a stigma, is a “matter

  of sensitive and highly personal nature” and is likely to result in “‘retaliatory physical or mental

  harm’ based on the accusations alone.” Rector, 179 F. Supp. 3d at 593, citing James, 6 F.3d at

  238. The instant case is a rape case, and cases which address rape and sexual misconduct are the




                                                    4
Case 1:22-cv-00545-CMH-JFA Document 108 Filed 01/11/23 Page 5 of 12 PageID# 1143




  only ones relevant to Defendant’s Motion. The legal standard is the application of the James

  factors to rape cases.

         B.       Balancing of Factors

         Besides the five-factor test in James, there is another consideration. Counterbalancing the

  public’s right to know the identity of persons availing themselves of the court system is the

  public interest in protecting rape victims. In Cabrera, the Court recognized that “[c]ourts

  generally allow a plaintiff to litigate under a pseudonym in cases containing allegations of sexual

  assault because they concern highly sensitive and personal subjects.” Cabrera, 307 F.R.D. at 5

  (citations omitted). The court continued to observe “a strong [public] interest in protecting the

  identities of sexual assault victims so that other victims will not be deterred from reporting such

  crimes.'" De Amigos, No. 11-cv-1755, at *6 (quoting Doe No. 2 v. Kolko, 242 F.R.D. 193, 195-

  96 (E.D.N.Y. 2006)).” Cabrera, 307 F.R.D. at 6. In Kolko, the court observed “[a]dditionally, the

  public generally has a strong interest in protecting the identities of sexual assault victims so that

  other victims will not be deterred from reporting such crimes. See Doe v. Evans, 202 F.R.D. 173,

  176 (E.D.Pa.2001) (granting anonymity to sexual assault victim).” Kolko, 242 F.R.D. at 195-96.

         A recent New York state appellate decision accurately assessed the problem when it

  dismissed a defamation claim by an accused abuser, holding that the lower court’s decision

  allowing the claim to proceed “has the effect of emboldening sexual assaulters who seek to

  weaponize the legal system in order to silence their victims.” Sagaille v. Carrega, 194 A.D.3d

  92, 94, 143 N.Y.S.3d 36, 38 (N.Y. App. Div. 2021), leave to appeal denied, 37 N.Y.3d 909, 174

  N.E.3d 710 (2021). As the Sagaille court noted,

              sexual assaults remain vastly underreported, primarily due to victims' fear of
              retaliation. . . . most victims cannot afford years of litigation, nor do they

                                                    5
Case 1:22-cv-00545-CMH-JFA Document 108 Filed 01/11/23 Page 6 of 12 PageID# 1144




            wish to have their personal information disclosed through invasive
            discovery or to relive their personal trauma through litigation, including
            depositions, filings, and testimony in court. They do not wish to endure
            continued unwanted interaction with the person alleged to have assaulted
            them through the litigation process.

  Id. at 194 A.D.3d 94 (footnote omitted).

         In the instant case, Plaintiff is a rape victim. Unlike when this motion was previously

  heard, the Court has declared that Sidar is liable for the three counts brought in the Complaint –

  Assault, Battery, and Intentional Infliction of Emotional Distress. If rape victims like her are

  required to disclose their identities, it will serve as a caution note to other rape victims and be

  viewed as another tool of retaliation by Defendants. This Court should not let that happen.

         The Doe v. Rector & Visitors of George Mason Univ. case is particularly instructive. 179

  F. Supp. 3d 583 (E.D. Va. 2016). Underlying the decision in that case was the fact that this

  Court believed that the Plaintiff, Doe, had been wrongfully accused of sexual misconduct. This

  Court noted that such an accusation carries a stigma, is a “matter of sensitive and highly personal

  nature” and is likely to result in “‘retaliatory physical or mental harm’ based on the accusations

  alone.” Rector, 179 F. Supp. 3d at 593. In the present case, the evidence is overwhelming,

  including Sidar’s attempts to avoid providing a DNA sample, that Sidar raped Plaintiff. Like in

  the George Mason case, the wronged party should not be exposed to public exposure of her rape,

  which is a “matter of sensitive and highly personal nature.” As explained in Plaintiff’s Affidavit,

  Exhibit A, she will be exposed to “‘retaliatory physical or mental harm’ based on the accusations

  alone,” including significant damage to her reputation and ability to obtain work in the Middle

  East, where most of her work is located, Exhibit A at ¶¶ 3-4, the fact of her rape will be exposed

  to her family, who she has not told about the rape, id. at ¶ 13, and she will be further traumatized



                                                    6
Case 1:22-cv-00545-CMH-JFA Document 108 Filed 01/11/23 Page 7 of 12 PageID# 1145




  after the initial trauma of the rape itself. Id. at 7-12. All of these factors weigh against Sidar’s

  attempt to remove the pseudonym that is protecting Plaintiff from these further harms.

          Next, we discuss the James factors considering the general test, and the admonition in

  Cabrera, Evans and Kolko.

         B.      Factors

                 1.      Avoidance of Annoyance and Criticism versus Preservation of Privacy
                         in a Matter of Sensitive and Highly Personal Nature

         Plaintiff details throughout her Complaint the mental harm and emotional anguish the

  rape caused her. Complaint, ECF No. 1, paras. 41-43, 51, 58, 66. The harm to her mental health

  is real and exposing her name publicly will only add to her anguish and suffering. It is not hard

  to imagine the mental anguish of publicizing that she was a victim of rape, especially given that

  her family does not even know about this rape.

         The Court in Doe No. 2 v. Kolko outlines the scope of protection afforded rape victims in

  the various circuits citing opinions including James. The court noted that even the 7th Circuit,

  which hews strongly against the use of fictitious names, recognizes that sexual assault victims

  are commonly accorded anonymity. Kolko, 242 F.R.D. at 195, citing Doe v. Blue Cross & Blue

  Shield United of Wisc., 112 F.3d 869, 872 (7th Cir. 1997) (recognizing that rape victims are

  entitled to anonymity) (" fictitious names are allowed when necessary to protect the privacy of ...

  rape victims, and other particularly vulnerable parties or witnesses"), 112 F. 3d at 872; see also

  Doe v. City of Chicago,360 F.3d 667, 669 (7th Cir.2004).

         The Kolko court also noted that the U.S. Supreme Court has recognized the seriousness of

  rape. See Coker v. Georgia, 433 U.S. 584, 597, 97 S.Ct. 2861 (1977) (“Short of homicide, [rape]

  is the ultimate violation of self”) cited in Kolko, 242 F.R.D. at 196. Although written into the

                                                    7
Case 1:22-cv-00545-CMH-JFA Document 108 Filed 01/11/23 Page 8 of 12 PageID# 1146




  criminal code, Virginia also recognizes crime victim rights, affording them protections of

  privacy and protection from intimidation, and avenues for restitution. See, Va. Code Section

  19.2-11.01, A., A.1. and A.2. Although addressing victim rights in a criminal law context, this

  section clearly sets forth the Commonwealth’s policy of protection of rape victims.

         In the current case, Plaintiff is seeking restitution for her rape. Rape victims are still

  punished and criticized. Defendant sent text messages over several days trying to paint himself

  as the victim and begging Plaintiff not to take any action that will harm him, disregarding the

  harm he caused Plaintiff. Throughout the proceedings in Fairfax County Circuit Court, he sought

  to avoid jurisdiction and attempts to collect his DNA. In one instance, he requested a protective

  order limited to prohibiting Plaintiff from sharing DNA results with the London Metropolitan

  Police. The Court wisely declined noting that it would not be a party to suppressing evidence in a

  criminal investigation in another country. The strong public policy to protect rape victims hews

  strongly in favor of Plaintiff retaining anonymity.

                 2.      Risk of Retaliatory Physical or Mental Harm to the Requesting Party
                         or even more critically, to innocent non-parties

         Another deciding factor in favor of anonymity is the risk of retaliatory physical or mental

  harm. “Related to the third factor is the concern “‘whether identification poses a risk of

  retaliatory physical or mental harm to the requesting party or even more critically, to innocent

  non-parties . . . .’ James, 6 F.3d at 238.” Kolko, 242 F.R.D. at 195.

         Plaintiff has been subjected to numerous baseless motions by Defendant in his attempts

  to delay her efforts to seek redress. One instance is the baseless personal jurisdiction motion

  pressed by Defendant, leading to Judge Bellows in Fairfax County finding personal jurisdiction

  and levying attorneys’ fees due to the baseless nature of Defendant’s claim. Another is his

                                                    8
Case 1:22-cv-00545-CMH-JFA Document 108 Filed 01/11/23 Page 9 of 12 PageID# 1147




  numerous attempts to avoid having to produce a DNA sample even though he voluntarily

  provided one to the London Metropolitan Police.

         Beyond Defendant’s continued assault on Plaintiff is a more important issue. As noted

  above, the Plaintiff works in governmental and military contracting worldwide, including in the

  Middle East. It is a well-documented fact that women who have been raped are subjected to

  ridicule, abuse, arrest, and prosecution in the Middle East. In January 2019, Frontiers in

  Psychology published a paper entitled Blaming the Victim of Acquaintance Rape: Individual,

  Situational, and Sociocultural Factors. ECF 24.1. In that study the authors stated --

         Victims of sexual assault in many Middle Eastern communities are punished, even
         outcast by their families, or must marry their rapists in order to restore honor to
         their families (Ruggi, 1998).

  Id. at 15. In an article published in Asia Times, the authors note that “[i]n some countries such as

  the United Arab Emirates, rapists can face the death penalty, but sex outside marriage, or zina, is

  also a serious crime, and women who have reported sexual assaults have then been arrested

  themselves.” Asia Times online, Arab countries struggle with the stigma associated with rape,

  Ghazal, R., Jan. 1, 2019. ECF 24.2.

         Plaintiff is rightfully afraid of the consequences if the fact that she was raped becomes

  publicized, especially in countries where she works and visits regularly. In light of her own

  personal experiences and well documented research and reporting, this fear is fully justified.

  Plaintiff should not have to suffer personal physical and legal risk in her work locations because

  she is pursuing her rights in the court system.

                 3.      Ages of the Persons Whose Privacy Interests are Sought to be
                         Protected

         Both parties to this case are of majority age. As in Va. Polytechnic this factor is neutral.

                                                    9
Case 1:22-cv-00545-CMH-JFA Document 108 Filed 01/11/23 Page 10 of 12 PageID# 1148




  Doe v. Va. Polytechnic Inst., Civil Action 7:21-CV-378 (W.D. Va. Mar. 29, 2022), at 4-5. That

  court noted that some of the James factors may be relevant to a case where others are not. Id. at

  3. In the case of the Plaintiff in Va. Polytechnic, the Court determined that the third James factor

  is crucial when a party is underage but otherwise neutral when they are not. Id. at 4-5. The court

  determined that this factor weighed neither in favor nor against anonymity. Id. Given the fact

  neither party is a minor and considering the severe effect Defendant’s rape of Plaintiff has had on

  Plaintiff’s mental, emotional, and financial state, and significant risk of causing additional

  physical, legal, and financial harm if her identity is unmasked, this factor is at best neutral.

                 4.      Whether the Action is Against a Governmental or Private Party

         This action is between private parties, and not against a government or other public

  entity. This factor would only weigh against Plaintiff if there was any risk of harm to the

  Defendant’s reputation that would offset Plaintiff’s need for anonymity. See, generally, Va.

  Polytechnic at 6. It is neutral in this case because Defendant has taken no steps, from the time of

  the rape until now, to conceal his identity, redact personal information from his discovery

  responses, request lifting of anonymity, or raise any risk of prejudicial harm to him. Plaintiff, on

  the other hand, has consistently and carefully worked to preserve her anonymity, and unlike the

  situation in Cabrera, further has taken no actions to publicly humiliate Defendant, even going so

  far as to mask his name in her contact list when first approaching the London Police. Lifting the

  veil of anonymity only harms Plaintiff, extends and amplifies the emotional toll this has taken on

  her, adds an additional layer of financial burden in responding to Defendant’s motion at this late

  stage in their litigation history and risks exposing her to new physical, mental, and financial

  harm. At best, this factor is neutral in the analysis of the James factors.



                                                    10
Case 1:22-cv-00545-CMH-JFA Document 108 Filed 01/11/23 Page 11 of 12 PageID# 1149




                 5.      Risk of Unfairness to the Opposing Party

         As set forth in the Introduction, there is no risk of unfairness to the Defendant. The

  Defendant has known the identity of the Plaintiff from the time he raped her. In fact, he had

  known her through an academic program many years before the rape. He sent her extensive text

  messages over several days beginning within minutes of raping her in attempts to get her to stay

  quiet and not report the rape to the police or take other actions. He voluntarily met with the

  London Police and provided a DNA sample. He has known her identity from the beginning of

  the case. As is noted in numerous cases where the defendant knows the plaintiff’s identity, there

  can be no prejudice to the defendant by maintaining pseudonymity. Defendant has described no

  unfairness to him in maintaining Plaintiff’s anonymity. See Doe v. Va. Polytechnic Inst., Civil

  Action 7:21-CV-378 (W.D. Va. Mar. 29, 2022), at 6; W. M. v. Braskem Am., Inc., Civil Action

  No. 3:20-cv-00141 (S.D.W. Va. Mar. 26, 2020).

         C.      Waiver or Laches; No Requests for Over Two and a Half Years

         Prior to filing suit, counsel for the Plaintiff and Defendant engaged in extensive

  discussions. In none of those discussions did Defendant request anonymity, even when Plaintiff

  made clear that she would be filing an action. Plaintiff proceeded under a pseudonym in Fairfax

  County from the time she filed suit, in September of 2019 until she filed a nonsuit in November

  of 2022. At no time in those proceedings did Defendant request a lifting of the pseudonym

  designation. Defendant’s filing is the first time he has raised this issue.

         Defendant waived any right to relief on his motion, and that his motion is filed solely to

  create additional angst and emotional harm on Plaintiff. Like Defendant’s untimely petition of

  appeal of an attorneys’ fee award to the Virginia Supreme Court, filed after Plaintiff non-suited



                                                    11
Case 1:22-cv-00545-CMH-JFA Document 108 Filed 01/11/23 Page 12 of 12 PageID# 1150




  and almost two years after the June 16, 2020 Order awarding attorneys’ fees and which was

  summarily rejected by that Court just five days after the argument on the petition, Plaintiff

  believes Defendant is on a crusade to bankrupt Plaintiff in order to attempt to obtain a more

  favorable settlement, rather than address the merits of her case.

         WHEREFORE, Plaintiff Jane Doe respectfully requests that the Court deny Defendant’s

  Renewed Motion to Remove Pseudonym Designation and award any other relief this Court

  deems necessary and proper.

                                        Respectfully Submitted,

                                        Jane Doe, by Counsel
                                        THE LAW FIRM OF FLETCHER, HEALD &
                                        HILDRETH, PLC

                                        By: __/s/ Thomas F. Urban II___________
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                                   CERTIFICATE OF SERVICE

  The undersigned hereby certifies that on this 11th day of January, 2023, he electronically filed
  the foregoing with the Clerk of the Court using the CM/ECF system, which will send notification
  of such filing to all counsel of record.

                                                /s/ Thomas F. Urban II
                                                Thomas F. Urban II

                                                  12
